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                    UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
DAVID N. MURPHY, SR.,                     :   Civil No. 3:18-CV-01404
                                          :
                   Plaintiff              :   (Judge Mannion)
                                          :
                                          :   (Chief Magistrate Judge Schwab)
      v.                                  :
                                          :
SCOTT M. GROCHOWSKI,                      :
et al.,                                   :
                                          :
                   Defendants             :
                                          :

                                    ORDER
                                 November 5, 2020

      On October 20, 2020, we ordered the Pottsville Police Department to submit

footage from its officers’ body cameras of the entry into Mr. Murphy’s home and

Mr. Murphy’s June 7, 2018 arrest for an in camera review. Doc. 85. We have

completed our review of the entire video and find that it fails to depict anything

relevant to Mr. Murphy’s knock-and announce claim. Therefore, IT IS

ORDERED that the Mr. Murphy’s motions to compel (docs. 76, 81) are denied as

to the body camera footage and the defendants do not have to produce the body

camera footage to Mr. Murphy.




                                              S/Susan E. Schwab
                                              Susan E. Schwab
                                              Chief United States Magistrate Judge
